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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,                     Case No. 11-20481

             Plaintiff,                       Arthur J. Tarnow
v.                                            Senior United States District Judge

RAYNARD V. CROWE, D-4,

          Defendant.
______________________________/

 ORDER DENYING DEFENDANT CROWE’S MOTION FOR NEW TRIAL
   [169] AND MOTION FOR HEARING ON BRADY VIOLATION [170]

                                    Introduction

      Before the Court are Defendant Crowe’s Motion for New Trial [169] and

Motion for Hearing on Brady Violation [170]. Defendant moves for acquittal or for

a new trial, following a conviction by jury of one count of conspiracy to commit bank

robbery, pharmacy robbery, using or carrying a firearm during a federal crime of

violence and felon in possession of a firearm, one count of bank robbery, one count

of pharmacy robbery, two counts of using or carrying a firearm during a federal crime

of violence, and two counts of felon in possession of a firearm. For the reasons stated

below, Defendant’s Motions for New Trial [169] and for Hearing on Brady Violation

[170] are DENIED.

      Beginning on March 11, 2013, a jury trial was held in which Defendant Crowe

was tried for one count of conspiracy to commit bank robbery, pharmacy robbery,
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using or carrying a firearm during a federal crime of violence and felon in possession

of a firearm, one count of bank robbery, two counts of pharmacy robbery, three counts

of using or carrying a firearm during a federal crime of violence, and four counts of

felon in possession of a firearm. On March 21, 2013, the jury found Defendant guilty

of one count of conspiracy to commit bank robbery, pharmacy robbery, using or

carrying a firearm during a federal crime of violence and felon in possession of a

firearm, one count of bank robbery, one count of pharmacy robbery, two counts of

using or carrying a firearm during a federal crime of violence, and two counts of felon

in possession of a firearm.

      April 4, 2013, Defendant Crowe filed the instant Motion for New Trial [169]

and Motion for Hearing on Brady Violation [170].

         Motion for Judgement of Acquittal and Motion for New Trial

      Federal Rule of Criminal Procedure 29(c)(2) permits a court to set aside a

verdict of guilty and to enter a judgment of acquittal. In doing so, “the relevant

question is whether, after viewing the evidence in the light most favorable to the

prosecution, any rational trier of fact could have found the essential elements of the

crime beyond a reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1978)

(citing Johnson v. Louisiana, 406 U.S. 356, 362 (1972)) (emphasis in original); see

also United States v. Conatser, 514 F.3d 508, 518 (6th Cir. 2008). If any rational trier



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of fact could find the essential elements of the crime beyond a reasonable doubt, the

motion must be denied. “All reasonable inferences must be drawn in favor of the

jury’s verdict.” Conaster, 514 F.3d at 518. When evaluating the evidence in a Rule

29 motion, “the court must refrain from independently judging the credibility of

witnesses or weight of the evidence.” United States v. Donaldson, 52 F. App’x 700,

706 (6th Cir. 2002). “Circumstantial evidence may sustain a conviction so long as the

totality of the evidence was substantial enough to establish guilty beyond a reasonable

doubt.” Id. (citing United States v. Phibbs, 999 F.2d 1053, 1064 (6th Cir. 1993)).

      A defendant challenging the sufficiency of evidence under Rule 29, bears “a

very heavy burden.” United States v. Prince, 214 F.3d 740, 746 (6th Cir.

2000)(internal quotation marks and citations omitted). A judgement may be reversed

based on insufficient evidence if, after viewing the record as a whole, the judgment

is not supported by substantial and competent evidence. Id. (citations omitted).

      Upon motion by a defendant, Federal Rule of Criminal Procedure 33(a) allows

the Court to vacate a judgment and grant a new trial if “the interest of justice so

requires.” Fed. R. Crim. P. 33(a). “The defendant bears the burden of proving the need

for a new trial.” United States v. Turner, 995 F.2d 1357, 1364 (6th Cir. 1993)(citations

omitted). “In general, motions for a new trial are disfavored and should be granted

with caution.” United States v. Slater, 258 Fed. Appx. 810, 816 (6th Cir.

2007)(citations omitted).

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      Defendant Crowe first argues that the Court must overturn the jury’s guilty

verdict on the count of conspiracy because he was not found guilty of the June 2011

robbery of the Medicap pharmacy. Defendant asserts that this pharmacy robbery is

one of the criminal acts included within the alleged conspiracy. Defendant’s argument

here fails because the Government “need not show that a defendant participated in all

aspects of the conspiracy; it need only prove that the defendant was a party to the

general conspiratorial agreement.” United States v. Avery, 128 F.3d 966, 971 (6th Cir.

1997).

      Second, Defendant Crowe argues that the Court must overturn the jury’s guilty

verdict on the count of the May 2011 bank robbery. Defendant asserts that the video

presented against him only shows Defendant prior to the robbery, and that the

testimony connecting him to the robbery was “unreliable and contradictory.” In

addition to the video, which showed Defendant Crowe arriving at the bank in a vehicle

with co-Defendants Wingate and Loving, the Government presented evidence that

Defendant Crowe entered the bank and attempted to withdraw funds directly prior to

the robbery. The Government argued that Defendant Crowe entered the bank in order

to count the number of bank employees and relayed this information to the robbers

prior to the robbery. The Government also presented evidence that those who robbed

the bank knew how many bank employees were in the bank at the time of the robbery



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and that Defendant Crowe provided Defendant Loving with a firearm used during the

robbery. Viewing this evidence in the light most favorable to the Government and

drawing all inferences in favor of the jury’s verdict, a rational trier of fact could have

found that the evidence establishes beyond a reasonable doubt that Defendant Crow

aided and abetted the bank robbery.

      Defendant Crowe also seeks acquittal of the guilty verdict as to the count of

using or carrying a firearm during a federal crime of violence, in relation to the May

2011 bank robbery. Defendant argues that the Government did not produce the

firearms used during the robbery and that the video evidence presented does not

establish that the objects used by the robbers were firearms, rather than a facsimile or

toy. Defendant Crowe also questions the credibility of Defendant Loving’s testimony.

However, the Court cannot judge the credibility of the evidence nor the weight given

to the evidence. See Donaldson, 52 F. App’x 700, 706. Therefore, viewing this

evidence in the light most favorable to the Government and drawing all inferences in

favor of the jury’s verdict, a rational trier of fact could have found that there was

sufficient evidence to support a guilty verdict as to this count.

      Defendant Crowe then argues that this Court must acquit the jury’s guilty

verdicts as to the July 2011 pharmacy robbery, including one count of pharmacy

robbery, one count of using or carrying a firearm during a federal crime of violence,



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and two counts of felon in possession of a firearm.1 Defendant asserts that the

testimony of co-Defendants Allen and Reid is unreliable and contradictory, that the

video evidence presented does not definitively identify Defendant, that co-Defendant

Kennedy had access to the van, and that other than Allen and Reid, no other witnesses

identified Defendant Crowe at the robbery.

      The Government provided the testimony of both Allen and Reid, which

identified Defendant Crowe, described his participation in the July 2011 pharmacy

robbery, and stated that Defendant Crowe provided them with the firearms used

during the robbery. The Government notes that the video evidence contested by

Defendant shows a vehicle closely matching Defendant’s car in the specific parking

lot identified by Allen and Reid. The Government produced cellular telephone records

corroborating Reid’s testimony that Defendant Crowe called Reid several times over

the course of the robbery from this parking lot. Defendant Crowe specifically argues

that there is insufficient evidence proving his possession of the firearms used during

the robbery. However, not only did Allen and Reid provide testimony to this fact, but

the police also recovered the firearms used during the robbery from the scene of the

crime. These firearms matched Allen and Reid’s descriptions. Therefore, without

providing independent review of the credibility of this evidence or the weigh given


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      Defendant also attacks Count VIII of the first superseding indictment, but
Defendant was not found guilty of this crime.
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to it, and drawing all inferences in favor of the jury’s verdict, a rational trier of fact

could have found that there was sufficient evidence to support the jury’s verdict as to

the one count of pharmacy robbery, the one count of using or carrying a firearm

during a federal crime of violence, and the two counts of felon in possession of a

firearm pertaining to the July 2011 pharmacy robbery.

      Finally, Defendant Crowe seeks new trial arguing that the Court’s denial of his

Motion for Severance [91] prohibited Defendant from fully cross-examining co-

Defendant Reid. Specifically, Defendant Crowe asserts that the joint trial with co-

Defendant Wingate prohibited Defendant Crowe from questioning Reid about his

statements to the FBI. Reid allegedly told FBI agents that he was angry at Wingate

and wished that Wingate had stayed in prison prior to the robberies.2 Defendant Crowe

argues that these statements demonstrated Reid’s bias and that such bias may have

altered the jury’s assessment of Reid’ credibility. However, not only did Defendant

Crowe’s counsel have ample opportunity to cross-examine Reid, but Defendant Crowe

has also failed to show how this potential bias would be prejudicial to him. Therefore,

Defendant Crowe has failed to show that justice requires a new trial in this case.

Motion for Hearing on Brady Violation

       In its Motion for Hearing on Brady Violation [170] Defendant Crowe seeks a

hearing to address allegations that the Government failed to provide Defendant with

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      Such testimony was prohibited because it would have revealed that co-
Defendant Wingate was previously incarcerated.
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several pieces of exculpatory information. At the close of trial, Defendant Crowe

raised the issue of whether the Government provided Defendant all information

concerning global positioning system (GPS) trackers used in regard to Defendant as

well as the existence of a May 3, 2011 video showing Defendant at a bank with two

other suspects. The Government argued that all existing exculpatory information was

given to Defendant Crowe, that the GPS information was not exculpatory, and that the

video sought by Defendant did not exist. The Court denied Defendant’s objection at

that time. In the instant Motion [170], Defendant Crowe again argues that certain e-

mail communications between Federal Bureau of Investigations (FBI) officers reveal

that a GPS tracker was placed on co-Defendant Wingate’s vehicle and that a May 3,

2011 video exists. Defendant first points to a June 29, 2011 e-mail from Special Agent

Jonathan Adkins with the subject “GPS Tracker.” The e-mail states that a group of

agents will drive to 23170 Marlow for “a tracker removal.” Co-Defendant Wingate

resided at this address at the time the e-mail was written. The June 29 e-mail also

states that the agents will install a tracker at 146 W Otis, Defendant Crowe’s address

at that time. Defendant then points to a June 3, 2011 e-mail from Agent Adkins with

the subject “June 6, 2011, 2011, 8:30a surveillance request.” Amongst other details,

this e-mail states that “on May 3rd, Crowe and 2 UNSUB [unknown subject] white

males are seen on bank surveillance video casing the bank.” Defendant also asserts

that “the testimony at trial concerning the Ferndale robbery was that there was a

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drive-by earlier that day to explore the site. However, no videotape was provided

allowing Crowe to show that his van was not present earlier that day.” However,

Defendant fails to show that such a video exists.

      In its Response [178], the Government acknowledges that at approximately four

o’clock the morning of June 30, 2011 a GPS tracker was placed on Defendant

Crowe’s vehicle. The tracker first generated some data and then proceeded to show

no further movement. On July 6, 2011, FBI Special Agent Southard and Task Force

Officer Stackhouse located the tracker from Defendant Crowe’s vehicle in the street

at an intersection in Hamtramck, MI. Based on this information, the Government

asserts that there was no available tracking data from Defendant’s vehicles on any of

the dates of the three robberies at issue in this case: May 18, 2011, June 18, 2011, and

July 11, 2011. The Government also explains that earlier in the FBI’s investigation,

it was believed that the May 3, 2011 surveillance video showed Defendant Crowe

entering the bank. However, this belief was later found to be untrue. The Government

asserts that the nonexistence of a May 3 video showing Defendant Crowe enter the

bank has no bearing on the evidence presented as to the May 18, 2011 bank robbery.

      “There are three components of a true Brady violation: The evidence at issue

must be favorable to the accused, either because it is exculpatory, or because it is

impeaching; that evidence must have been suppressed by the State, either willfully or



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 inadvertently; and prejudice must have ensued.” Strickler v. Greene, 527 U.S. 263,

 281-282 (U.S. 1999).

       As for the May 3, 2011 video, Defendant Crowe has failed to show how his

 non-presence in this video is at all exculpatory as to the May 18, 2011 robbery. As the

 Government notes in its Response [178], the Government presented video showing

 Defendant enter the bank on May 12, 2011, opening a bank account, and on May 18,

 2011, withdrawing money from the bank directly prior to the robbery. Defendant’s

 non-presence in the May 3 video does not contradict either of these videos. In so far

 as Defendant’s non-presence does contradict the June 3 e-mail, Defendant Crowe has

 failed to show that this contradiction is prejudicial. Defendant Crowe has also failed

 to show how GPS tracking data from his vehicle during the time between June 30 and

 July 6, and GPS tracking data from co-Defendant Wingate’s vehicle is exculpatory or

 prejudicial.

 Conclusion

       For the reasons stated above, IT IS ORDERED that Defendant Crowe’s

 Motion for New Trial [169] and Motion for Hearing on Brady Violation [170] are

 DENIED.

       SO ORDERED.

                                  s/Athur J. Tarnow
                                  ARTHUR J. TARNOW
                                  SENIOR UNITED STATES DISTRICT JUDGE
 Dated: August 1, 2013

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